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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    IRA A. BUCK, II and WYDITTE L.                                  No. 4:19-CV-00134
    BUCK, Individually and as Parents and
    Natural Guardians of R.R.B., a Minor,                           (Judge Brann)

                   Plaintiffs,

           v.

    KARAMJIT S. SEKHON and LALLY
    TRANSPORTATION, INC.,

                   Defendants.

                                                  ORDER

          AND NOW, this 17th day of December 2019, in light of Mediator Brian J.

Bluth, Esquire’s report to the Court indicating that this matter has settled, ECF No. 22,

IT IS HEREBY ORDERED that this action is dismissed without costs and without

prejudice to the right of either party, upon good cause shown, to reinstate the action

within sixty (60) days if the settlement is not consummated. IT IS FURTHER

ORDERED that the Court retains jurisdiction over the settlement agreement.1

                                                        BY THE COURT:


                                                        s/ Matthew W. Brann
                                                        Matthew W. Brann
                                                        United States District Judge

1
      See Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381 (1994)(“The parties’ obligation to
      comply with the terms of the settlement agreement [must be] made part of the order of dismissal—
      either by separate provision (such as a provision ‘retaining jurisdiction’ over the settlement agreement)
      or by incorporating the terms of the settlement agreement in the order. In that event, a breach of the
      agreement would be a violation of the order, and ancillary jurisdiction to enforce the agreement would
      therefore exist.”); see also In re Phar-Mor, Inc. Sec. Litig., 172 F.3d 270, 274 (3d Cir. 1999); Shaffer
      v. GTE N., Inc., 284 F.3d 500, 503 (3d Cir. 2002).
